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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION


  IN RE: NATIONAL PRESCRIPTION                       )    CASE NO. 1:17-MD-2804
  OPIATE LITIGATION                                  )
                                                     )    JUDGE DAN AARON POLSTER
                                                     )
                                                     )    ORDER RE: REFERRAL TO
                                                     )    MAGISTRATE JUDGE RUIZ
  This document applies to Track One Cases           )
  and Cases Identified in CMO No. 1 ¶ 2.             )


          On June 4, 2018, the Court issued an Order reassigning the workload going forward, and

  expressly stating that

          Magistrate Judge David Ruiz will be handling the motions to dismiss in the cases
          referenced in paragraph 2 of Case Management Order No. 1. (Doc #: 232 at 2-4.)
          The Court noted that he will prepare and issue Reports and Recommended
          Decisions, with any objections being resolved by the Court.

  (Doc #: 549 at 1.) The docket in the main case now shows that there are motions and proposed

  stipulations directly or tangentially related to the motions to dismiss that are currently pending

  before Magistrate Judge Ruiz – most of which can be ruled on in marginal entries. (See, e.g.,

  Doc ##: 580, 649, 650, 658, 664.) The Court refers these types of motions to Magistrate Judge

  Ruiz for such rulings.1

          IT IS SO ORDERED.

                                                   /s/ Dan A. Polster June 28, 2018
                                                  Dan Aaron Polster
                                                  United States District Judge



          1
         Per Doc #: 549, all discovery disputes shall continue to be addressed to Special Master
  David Cohen.
